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                     UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                Byron White United States Courthouse
                                          1823 Stout Street
                                      Denver, Colorado 80257
                                           (303) 844-3157
                                      Clerk@ca10.uscourts.gov
 Christopher M. Wolpert                                                             Jane K. Castro
 Clerk of Court                                                                 Chief Deputy Clerk
                                     September 26, 2022


  Mr. Logan P. Brown
  Mr. Zeyen Julian Wu
  Office of the United States Attorney
  District of Colorado
  1801 California Street, Suite 1600
  Denver, CO 80202

  RE:       22-1311, Sheikh v. Chaote, et al
            Dist/Ag docket: 1:22-CV-01627-RMR

 Dear Counsel:

 The court has received and docketed your appeal. Please note your case number above.
 Copies of the Tenth Circuit Rules, effective January 1, 2022, and the Federal Rules of
 Appellate Procedure, effective December 1, 2021, may be obtained by contacting this
 office or by visiting our website at http://www.ca10.uscourts.gov. In addition, please note
 all counsel are required to file pleadings via the court's Electronic Case Filing (ECF)
 system. See 10th Cir. R. 25.3. You will find information regarding registering for and
 using ECF on the court's website. We invite you to contact us with any questions you
 may have about our operating procedures. Please note that all court forms are now
 available on the court's web site.

 Attorneys must complete and file an entry of appearance form within 14 days of the date
 of this letter. See 10th Cir. R. 46.1(A). Pro se parties must complete and file the form
 within thirty days of the date of this letter. An attorney who fails to enter an appearance
 within that time frame will be removed from the service list for this case, and there may
 be other ramifications under the rules. If an appellee does not wish to participate in the
 appeal, a notice of non-participation should be filed via ECF as soon as possible. The
 notice should also indicate whether counsel wishes to continue receiving notice or service
 of orders issued in the case.

 Although attorneys who file a notice of appeal have technically entered an appearance,
 and may not withdraw without the court's permission, counsel must still file a separate
 entry of appearance form. For criminal appeals, please note the court will require trial
 counsel to continue the representation whether retained or appointed, until an order issues
 allowing withdrawal. This is the case even if you did not sign the notice of appeal. See
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 10th Cir. R. 46.3(A). This initial continuity of counsel ensures that any criminal
 defendant who wishes to appeal has that appeal perfected.

 Generally, the court will not allow counsel to withdraw until an entry of appearance form
 and the docketing statement are filed. See 10th Cir. R. 46.3(A). If there is an issue
 regarding the defendant's eligibility for the appointment of counsel, an appropriate
 motion must be filed in the district court. Where this is the case, it may be appropriate to
 file a motion seeking to extend the time for filing the motion to appoint or withdraw
 under the court's Criminal Justice Act plan.

 You are required to file a docketing statement within 14 days of filing the notice of
 appeal. If you have not yet filed that pleading, you should do so within 14 days of the
 date of this letter. Please note that under 10th Cir. R. 3.4(B), the appellant is not limited
 to the issues identified in his docketing statement and may raise other appropriate issues
 in the opening brief. The court's docketing statement form was updated on January 1,
 2019; please make sure you use the current form. It may be found at
 http://www.ca10.uscourts.gov/clerk/forms.

 In addition to the docketing statement, all transcripts must be ordered within 14 days of
 the date of this letter. If no transcript is necessary, you must file a statement to that effect.

 Appellant is not required to file a designation of record, but will be required to file an
 appendix with appellant's opening brief. See 10th Cir. R. 10.1 and 30.1.

 Appellant must file an opening brief and appendix within 40 days after the date on which
 the district clerk notifies the parties and the circuit clerk that the record is complete for
 purposes of appeal. See 10th Cir. R. 31.1(A)(1). Motions for extension of time to file
 briefs and appendices must comply with 10th Cir. R. 27.1 and 27.6. These motions are
 not favored.

 Briefs must satisfy all requirements of the Federal Rules of Appellate Procedure and
 Tenth Circuit Rules with respect to form and content. See specifically Fed. R. App. P. 28
 and 32 and 10th Cir. R. 28.1, 28.2 and 32, as well as 31.3 when applicable. In addition,
 we encourage all counsel, as applicable, to be familiar with 10th Cir. R. 46.4(B). Seven
 hard copies of briefs must be provided to the court within five business days of the court
 issuing notice that the electronic brief has been accepted for filing. See 10th Cir. R. 31.5
 and the court's CM/ECF User's Manual. Appendices must satisfy the requirements of
 Fed. R. App. P. Rule 30 and 10th Cir. R. 30.1(A) through (F). Appendix volumes
 submitted under seal must be accompanied by a separate motion to seal. See 10th Cir. R.
 30.1(D)(6). All appendices must be filed electronically, and a single hard copy provided
 to the court within five business days of the court issuing notice that the electronic
 appendix has been accepted for filing. See 10th Cir. R. 30 as well as the court's CM/ECF
 User's Manual. Counsel are encouraged to utilize the court's Briefing & Appendix
 checklist when compiling their briefs and appendices.
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 Please contact this office if you have questions.

                                             Sincerely,



                                             Christopher M. Wolpert
                                             Clerk of Court



  cc:      Conor Timothy Gleason
           Laura Lunn
  CMW/na
